Case 2:12-md-02327 Document 1092-1 Filed 02/14/14 Page 1 of 1 PageID #: 14409




                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA

                                 CHARLESTON DIVISION

In re: C.R. Bard, Inc., Pelvic Repair System                                      2:10-md-2187
Products Liability Litigation


In re: American Medical Systems, Inc., Pelvic Repair System                       2:12-md-2325
Products Liability Litigation


In re: Boston Scientific Corp, Pelvic Repair System                               2:12-md-2326
Products Liability Litigation


In re: Ethicon Inc., Pelvic Repair System                                         2:12-md-2327
Products Liability Litigation


In re: Coloplast Corp., Pelvic Repair System                                      2:12-md-2387
Products Liability Litigation


In re: Cook Medical Inc., Pelvic Repair System                                    2:12-md-2440
Products Liability Litigation


THIS DOCUMENT RELATES TO ALL CASES


                               CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2014, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in these MDLs.

                                                   By:      /s/ Fred Thompson III
                                                             Fred Thompson III
                                                            Plaintiffs’ Coordinating Co-Lead
                                                            Counsel and Member of
                                                            Executive Committee
